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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                        Plaintiff,
                                                        HONORABLE PAUL L. MALONEY
v.
                                                        Case No. 1:10-cr-168
JOSE ALBERTO REYES-GONZALEZ,
EDUARDO LOPEZ-SOSA,
EDDIE CASTILLA-LUGO,
ISRAEL TONI ARMENDARIZ-BECERRA,
AND MIGUEL MERLOS-GONZALEZ,

                  Defendants.
______________________________________/

                  ORDER GRANTING ENDS OF JUSTICE CONTINUANCE

         Before the Court is a motion filed by all defendants for an ends of justice continuance of

the final pretrial presently scheduled for August 2, 2010 and trial scheduled for August 11, 2010.

The basis of the motion is that a Superseding Indictment was filed on July 29, 2010, and additional

time is necessary for adequate review and assessment of evidence. The government does not

oppose the motion.

         The Court finds that, for the reasons stated in the motion, the ends of justice served by the

granting of a continuance outweighs the best interest of the public and the defendant in a speedy

trial.

         NOW THEREFORE, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), an ends of justice

continuance is hereby entered as to all defendants. The final pretrial conference is rescheduled to

October 4, 2010 at 11:00 a.m. Jury trial is rescheduled to October 19, 2010 at 8:45 a.m.



Dated: July 30, 2010                                     /s/ Paul L. Maloney
                                                        Paul L. Maloney
                                                        Chief United States District Judge
